 1                                                                        Honorable Christopher M. Alston
                                                                           Hearing date: January 26, 2018
 2                                                                                 Hearing time: 9:30 a.m.
                                                                          Response date: January 19, 2018
 3
                                                                                                 Chapter 7
 4                                                                                        Location: Seattle

 5                                UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6
 7    In re                                               No. 17-14070

 8    REYNALDO VINLUAN,                                   RESPONSE AND OBJECTION TO MOTION
                                                          FOR ORDER AUTHORIZING TRUSTEE TO
 9                                     Debtor.            ABANDON PROPERTY OF ESTATE
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11            COMES NOW, Edmund J. Wood, the Chapter 7 Trustee herein, by and through the

12   undersigned attorney, and in response and objection to the debtor’s motion states as follows:

13                                                  I. FACTS
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              The debtor filed the present Chapter 7 Bankruptcy Petition on September 15, 2017, and
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     Edmund J. Wood was appointed the Chapter 7 Trustee. Among the assets of the estate is the debtor’s
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     interest in the real property located at 303 23rd Ave S, #606, Seattle, WA, which the debtor valued at
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     $391,000.00 on the date of filing (Docket No. 1, page 9). On October 16, 2017, the debtor amended
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     Schedule A/B to list a previously undisclosed claim. The debtor retained the same value of the
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20   property at $391,000. Based on the debtor’s sworn statement of the value of the property, and the

21   liens listed, there was no equity in the property.

22            Debtor’s Valuation:    $391,000.00
              Ocwen 1st DOT          -$224,113.00
23            LCS Financial          -$108,000.00
              IRS Lien               -$96,563.92
24
              Gross Equity           -$37,676.92
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     After the Trustee engaged a realtor to list the property for sale, the debtor filed an amendment to
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     Schedules A and C on November 6, 2017, the purpose of which was expressly stated to be “to
27
                                                                                  KATHRYN A. ELLIS, ESQ.
28                                                                                        5506 6th Ave S
                                                                                             Suite 207
     RESPONSE AND OBJECTION TO MOTION FOR ORDER                                         Seattle, WA 98108
     AUTHORIZING TRUSTEE TO ABANDON PROPERTY OF ESTATE - 1                               (206) 682-5002


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 1   Change Valuation of Home and Change to State Exemptions”. The debtor increased his sworn
 2   valuation of the premises from $391,000.00 to $481,000.00, inflating the actual value to attempt to
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     provide value that the debtor could attempt to claim exempt. In actuality, the property is only worth
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     the approximate amount of the debtor’s originally scheduled value. See Declaration of Tyrone
 5
     Bafaro.
 6
               The debtors’ motion to compel abandonment in a Chapter 7 case filed less than four months
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 8   ago is grossly premature. Pursuant to 11 U.S.C. § 724 (a), the Trustee may avoid, for the benefit of

 9   the estate, the tax lien to the extent it secures a penalty and interest claim. Here, the penalty and

10   interest claim, amounts to approximately $30,000.00, all of which can be distributed to creditors

11   without deduction for costs. As the Chapter 7 Trustee’s costs of administration can subordinate the
12   balance of the secured tax lien of the IRS pursuant to 11 U.S.C. § 724 (b)(2), there is equity for the
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     estate that can be liquidated for the benefit of creditors1.
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                                                     II. DISCUSSION
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               Orders to compel abandonment by a Trustee are the exception, not the rule:
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               “Abandonment should only be compelled in order to help the creditors by assuring some
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               benefit in the administration of each asset.” Morgan v. K.C. Machine & Tool Co. (In re K.C.
18             Machine & Tool Co.), 816 F.2d 238, 246 (6th Cir. 1987). Where the benefits of administration
               exceed the costs of administration, abandonment should not be compelled. Id. In K.C.
19             Machine & Tool Co., the court stated, “Absent an attempt by the trustee to churn property
               worthless to the estate just to increase fees, abandonment should very rarely be ordered.” Id.
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     In re Bolden, 327 B.R. 657, 667 (Bankr. C.D. Cal. 2005). Here, there can be no suggestion that there
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     has been any delay in the administration when the case will be less than four months old at the time
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23   of the hearing on this motion.

24             The Ninth Circuit BAP has also long recognized that orders to compel abandonment by a

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                      The claims bar date in this matter does not expire until after this response is filed, January 22,
                      2018.
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                                                                                              KATHRYN A. ELLIS, ESQ.
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 1   Trustee are the exception, not the rule:
 2             Section 554 (b) provides that “on request of a party in interest and after notice and a hearing,
               the court may order the trustee to abandon any property of the estate that is burdensome to
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               the estate or that is of inconsequential value and benefit to the estate.” 11 U.S.C. § 554 (b). In
 4             order to approve a motion to abandon property, the bankruptcy court must find either that (1)
               the property is burdensome to the estate or (2) of inconsequential value and inconsequential
 5             benefit to the estate. See 11 U.S.C. § 554 (b); Morgan v. K.C. Mach. & Tool Co. (In re K.C.
               Mach. & Tool Co.), 816 F.2d 238, 245 (6th Cir. 1987). As the Sixth Circuit noted, “an order
 6             compelling abandonment is the exception, not the rule. Abandonment should only be
               compelled in order to help the creditors by assuring some benefit in the administration of
 7             each asset. . . . Absent an attempt by the trustee to churn property worthless to the estate just
 8             to increase fees, abandonment should rarely be ordered.” Morgan, 816 F.2d at 246.
               (Emphasis supplied)
 9
     Vu v. Kendall (In re Vu), 245 B.R. 644, 647 (B.A.P. 9th Cir. Cal. 2000). In Vu, the Court noted that it
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     was the debtors’ burden to establish that the property was both of inconsequential value and benefit
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     to the estate, and that they did not meet their burden. Id at 650.
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13                                                      III. CONCLUSION

14             In sum, as payment of unsecured creditor claims will be paid from the carve out of

15   $30,000.00 from the § 724 (a) claim, and all costs of administration paid from the balance of the

16   subordinated secured IRS claim, the debtor cannot show that the property is either of inconsequential
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     value to creditors nor that it is unduly burdensome and accordingly, the motion should be denied.
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               DATED this 19th day of January, 2018.
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20                                                            By: /s/ Kathryn A. Ellis
                                                              Kathryn A. Ellis, WSBA #14333
21                                                            Attorney for Trustee
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